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                   UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF PENNSYLVANIA

AFSCME DISTRICT COUNCIL 33,
LOCAL 427, by its guardian ad litem,
CHARLES CARRINGTON,
PRESIDENT; KASHIF CAMPBELL;
TIMOTHY JACKSON, DAMON
RANDOLPH, in their individual
capacities;
                                              Civ. A. No.
            Plaintiffs,

      v.

THE CITY OF PHILADELPHIA, its
Officials, Agents, Employees and
Assigns; JIM KENNEY, in his official
capacity as Mayor of the City of
Philadelphia; ROB DEBOW, in his
official capacity as Finance Director of
the City of Philadelphia; JACQUELINE
DUNN, in her official capacity as
Treasurer of the City of Philadelphia

            Defendants.




                                  COMPLAINT

       Plaintiffs AFSCME District Council 33, Local 427 (“Local”), by its

Guardian ad litem, Charles Carrington, President, and well as Kashif Campbell,

Timothy Jackson, and Damon Randolph, in their individual capacities, by their
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undersigned counsel, file this Complaint. Based on the illegal actions of

Defendants, Plaintiffs seek mandamus and declaratory relief for violations of the

Philadelphia Home Rule Charter (“Home Rule Charter”), and monetary and

liquidated damages as well as declaratory and equitable relief for violations of the

Fair Labor Standards Act (“FLSA”).

      These violations arose from the Defendants’ failure to properly implement

and oversee the OnePhilly payroll system, which deprived bargaining unit

employees of the Local as well as the individually-named plaintiffs (1) timely,

proper, and accurate payment of earned wages and other payments due and

owing to them, including the payment of minimum wage and overtime; (2)

deductions to those earned wages authorized by the Local’s bargaining unit

employees and required by taxing authorities; and (3) remittance of authorized

deductions to the appropriate entity.

      Defendants and their agents’ failures to properly implement and oversee the

OnePhilly payroll system resulted in bargaining unit employees of the Local

suffering (1) lack of payment or late payment of wages and other renumeration due

and owing, (2) the imposition of fees, costs, and other expenses arising from

Defendants’ failure to timely, properly, and accurately pay the Local’s bargaining

unit employees, and/or (3) the loss of benefits or other privileges arising from

Defendants’ failure to timely, properly, and accurately pay all wages and other


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renumeration and make all deductions from the payroll of bargaining unit

employees of the Local and remit the same to the appropriate party as required by

the Home Rule Charter and/or the FLSA.

                             NATURE OF ACTION

      1.    The Local seeks mandamus relief, ordering Defendants, as required by

the Home Rule Charter, to promptly pay all unpaid earnings due and owing to

bargaining unit employees represented by the Local, along with statutory interest.

      2.    The Local seeks mandamus relief, ordering Defendants, as required by

the Home Rule Charter, to promptly deduct all unpaid, agreed-upon deductions,

including local, state, and federal taxes, as authorized by employees represented by

the Local or under local, state, and federal law, and remit those sums to the

appropriate entity, along with payment of any penalties suffered by bargaining unit

employees for failure of Defendants to do the same.

      3.    The Local seeks a declaration from this Court that Defendants violated

the Home Rule Charter with their failure to promptly pay all unpaid earnings due

and owing to bargaining unit employees represented by the Local.

      4.    The Local seeks a declaration from this Court that Defendants violated

the Home Rule Charter by failing to promptly deduct all unpaid, agreed-upon

deductions, including local, state, and federal taxes, as authorized by employees

represented by the Local, and remit those sums to the appropriate taxing authority,

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along with payment of any penalties suffered by the employees for failure of

Defendants to do the same.

         5.    Plaintiff Timothy Jackson seeks any and all monetary or liquidated

damages, as well as attorneys’ fees, under the FLSA for failure to timely pay, or at

all, minimum wages due and owing to him after Defendant City of Philadelphia

(“Defendant City”) implemented the OnePhilly payroll system.

         6.    Plaintiffs Kashif Campbell and Damon Randolph seek any and all

monetary or liquidated damages under the FLSA for failure to time pay, or at all,

overtime due and owing for hours they worked in excess of forty (40) hours in any

given work week after Defendant City implemented the OnePhilly payroll system.

         7.    Plaintiff Timothy Jackson asserts a collective action on behalf of a

proposed collective under Section 216 of the FLSA, seeking monetary and

liquidated damages against Defendant City, for failure to timely pay, or at all,

minimum wages due and owing for those employees who consent to join this

claim.

         8.    Plaintiffs Kashif Campbell and Damon Randolph assert a collective

action on behalf of a proposed collective under Section 216 of the FLSA, seeking

monetary and liquidated damages against Defendant City, for failure to timely pay,

or at all, overtime wages due and owing for those employees who consent to join

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this claim.

                           JURISDICTION AND VENUE

      9.       This Court has jurisdiction over this matter pursuant to 28 U.S.C. §

1331 and the Fair Labor Standards Act, 29 U.S.C. § 201, et seq., and over the

pendent state claims pursuant to 28 U.S.C. § 1367.

      10.      This Court is authorized to enter declaratory and injunctive relief

pursuant to 29 U.S.C. §§ 216(b) of the FLSA and the Declaratory Judgment Act,

28 U.S.C. §§ 2201 and 2202.

      11.      Venue is proper in this district pursuant to 28 U.S.C. §§ 1391(b)(2)

and (d) because a substantial part, if not all, of the events or omissions giving rise

to the claim occurred in this district.

                                          PARTIES

      12.      Plaintiff AFSCME District Council 33, Local 427 (“Local”) is an

unincorporated labor organization within the meaning of § 301 of Act 195 (43

P.S. §1101.101 et seq.) and the exclusive representative for collective

bargaining purposes for the sanitation workers of the Philadelphia Department of

Streets (“Streets Department”). The Local maintains its headquarters at 3001

Walnut Street, Philadelphia, PA 19104.

      13.      Plaintiff Charles Carrington is the Guardian Ad Litem for Plaintiff


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AFSCME Local 427 and its elected President (“President Carrington”). Plaintiff

Carrington’s office address at AFSCME Local 427 is 3001 Walnut Street,

Philadelphia, PA 19104.

      14.    Plaintiff Kashif Campbell (“Campbell”) is an adult individual who is

an employee of Defendant City working for the Streets Department and a

member of the Local. He resides at 2046 S. 22nd Street, Philadelphia, PA 19145.

      15.    Plaintiff Timothy Jackson (“Jackson”) is an adult individual who is

employee of Defendant City working for the Streets Department and a member of

the Local. He resides at 3133 North 28th Street, Philadelphia, PA 19129.

      16.    Plaintiff Damon Randolph (“Randolph”) is an adult individual who

is an employee of Defendant City working for the Streets Department and a

member of the Local. He resides at 5952 Alma Street, Philadelphia, PA 19149.

      17.    Hereinafter, Plaintiffs Campbell, Jackson, and Randolph are

collectively referred to in this Complaint as “Individual Plaintiffs.”

      18.    Defendant City of Philadelphia is a City of the First Class within the

meaning of the First-Class City Code, 53 P.S. §§ 13101 et seq., and in accordance

with the Philadelphia Home Rule Charter, 351 Pa. Code §§ 1.1-100 et seq.

Defendant City also is a public employer within the meaning of the of §301( 1 )

of Act 195 (43 P.S. §1101.101 et seq.). Included under the rubric of Defendant

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City government is the Mayor, the Finance Director, and the Treasurer.

      19.      Defendant Jim Kenney (“Mayor Kenney”) is the elected Mayor of

Defendant City. His office is at City Hall, Room 215, Philadelphia, PA 19107.

Under the Home Rule Charter, the Mayor appoints agency heads and

commissioners for the various departments of Defendant City government,

including the Director of Finance. He has ultimate authority over these agencies

and departments.

      20.    Defendant Rob Dubow (“Director Dubow”) is the appointed

Director of Finance of Defendant City. His office is at 1401 JFK Boulevard,

Municipal Services Building, Room 1330, Philadelphia, PA 19102. Under the

Home Rule Charter, the Mayor appoints the Director of Finance, who serves at

the Mayor’s discretion and is responsible for the financial, accounting, and

budgeting functions of the executive branch of Defendant City, including

authorizing and administering its payroll.

      21.    Defendant Jacqueline Dunn (“Acting Treasurer Dunn”) is the

appointed Treasurer of Defendant City. Her office is at 1401 JFK Boulevard,

Municipal Services Building, Room 640, Philadelphia, PA 19102. Under the

Home Rule Charter, the Director of Finance appoints the Treasurer of Defendant

City with the approval of the Mayor. The City Treasurer serves at the Director of

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Finance’s discretion and is responsible for printing and distributing the checks or

initiating electronic transfers authorized by the Director of Finance, including

payroll checks.

                           FACTUAL ALLEGATIONS

A.    Implementation of OnePhilly and Ensuing Payroll Problems

      22.    On information and belief, Defendant City spent over $44 million

to purchase and operate a new payroll system called OnePhilly to perform

certain administrative and operational functions, including payroll.

      23.    Before OnePhilly was implemented, Defendant knew the system

had major flaws and was not ready to be rolled out.

      24.    During the design states of the OnePhilly system, it was known

that a mistake in the OnePhilly system could cause an employee to be

underpaid or unpaid, while a mistake in the old payroll system would not cause

the same error.

      25.     In July 2018, it was reported that the OnePhilly system would not

go into effect until all implementation issues were resolved.

      26.    Despite the clear warnings that OnePhilly was not ready, on or on

or about March 25, 2019, Defendant City implemented OnePhilly to do payroll

for its employees, including the bargaining unit employees of the Local.

      27.    After its introduction and until the present, Defendant City has

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failed to properly pay bargaining unit employees of the Local, thus depriving

them of earned wages and other payments due and owing to them pursuant to

the relevant collective bargaining agreement and the Home Rule Charter.

      28.       Defendant City also refused or failed to properly make, in the

proper amount or at all, authorized deductions to bargaining unit employees’

paychecks, including deductions for union membership dues, and contributions

to the District Council 33 health and welfare fund or medical insurance.

      29.       Upon information and belief, these very serious payroll problems

have resulted in many Defendant City employees represented by the Local

(and other Defendant City employees) being underpaid, incorrectly paid, or not

paid at all, over multiple pay periods.

      30.       The payroll problems are widespread, affecting many

bargaining unit employees of the Local who are in the lowest wage

classification and can ill afford being deprived of their wages due and

owing to them.

      31.       Such errors have occurred on a repeated basis since the first

paycheck was issued through the OnePhilly payroll system beginning in April

2019 and include but are not limited to the following categories of payroll

deficiencies:

                a.    Defendant City failed or refused to pay employees at least


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minimum wage or overtime in a timely manner or at all.

             b.        Defendant City has failed or refused to calculate and pay

employees at the appropriate pay rates.

             c.        Defendant City has improperly directed automatic, electronic

payroll checks into accounts that are held by a person who is not the payee of the

payroll funds, resulting in the actual payee not receiving his or her earned wages.

             d.        Defendant City has failed or refused to pay overtime or use the

correct overtime rates in making overtime payments.

             e.        Defendant City has failed or refused to pay some overtime

promptly due its decision to prioritize closing payroll on a Monday over including

time worked in the weekend immediately preceding the close.

             f.        Defendant City has failed or refused to properly calculate and

pay longevity pay to bargaining unit employees of the Local.

             g.        Defendant City has failed or refused to reinstate benefits to

employees returning to work after extended absences.

             h.        Defendant City has failed or refused to pay holiday pay, or, in

cases where payments have been made, the Defendant City has incorrectly

calculated the rate.

             i.        Defendant City has failed or refused to pay bargaining unit

employees at the correct pay step.


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               j.    Defendant City has failed or refused to pay the proper shift

differential or out-of-classification pay.

               k.    Defendant City has failed to timely pay terminal leave pay, i.e.,

reimbursement for earned but unused sick and vacation pay for bargaining unit

employees who retire or voluntarily resign.

               l.    Defendant City has failed to timely, properly, and accurately

deduct union dues from union members’ pay and remit the same to the appropriate

bargaining agent.

               m.    Defendant City has improperly deducted union dues from

employees’ pay who are not union members.

               n.    Defendant City has failed or refused to deduct medical

premium deductions, sometimes resulting in the employee not having medical

insurance.

               o.    Defendant City has made deductions from employees without

any explanation about the nature of the deductions.

               p.    Defendant City has failed or refused to accurately calculate and

report year-to-date earnings on employee pay stubs.

               q.    Defendant City has failed or refused to accurately calculate and

report the current amount of paid time off employees possess, resulting in some of

those employees fearful to take leave time as it may result in a determination that


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the employee is AWOL.

              r.    Defendant City has failed to properly calculate and implement

employee payroll deductions and withholding of tax.

      32.     Beginning on or about April 5, 2019, Defendant City failed to timely

provide Plaintiff Timothy Jackson wages for straight-time hours worked for the

Streets Department and therefore no minimum wage in the immediately preceding

pay period, in violation of the Home Rule Charter and the FLSA. To date,

Defendant City has not corrected this failure to pay this Plaintiff.

      33.     Beginning on or about April 5, 20219, Plaintiffs Kashif Campbell and

Damon Randolph received no overtime for hours they worked in excess of forty

(40) hours in a work week for Defendant City’s Streets Department, in violation of

the Home Rule Charter and the FLSA. To date, Defendant City has not corrected

this failure to pay overtime.

      34.     Upon information and belief, other bargaining unit employees of the

Local have experienced the same payroll problems as the Individual Plaintiffs.

      35.     Bargaining unit employees represented by the Local have been

subjected to late fees, bank charges and additional interest assessments from

creditors whom they have been unable to pay because of these repeated payroll

errors. Because of Defendant City’s continuing inability or unwillingness to meet

its obligation to timely, properly, and accurately pay the bargaining unit employees


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of the Local, the Local’s professional staff have spent significant hours attempting

to correct and reconcile employees’ payroll problems, which they could otherwise

spend on representing the bargaining unit employees on other issues.

      36.     Defendant City’s failure to meet its payroll obligations has left the

Local unable to determine whether dues have been appropriately collected by

Defendant City and remitted to the Local.

      37.     On information and belief, Defendant City possesses enough cash

on hand to meet its payroll obligations for all its employees.

      38.     Defendant City cannot state whether or when its OnePhilly payroll

system will timely, properly, and accurately pay bargaining unit employees all

wages due and owing to them in a timely, proper, and accurate manner.

      39.     Failure to pay bargaining unit employees of the Local all wages due

and owing causes them extreme financial hardship.

B.    City Controller’s Audit of the OnePhilly Payroll System

      40.     On June 24, 2020, the City Controller, Rebecca Rhynhart, released an

audit performed by EisnerAmper of the OnePhilly payroll system. The Audit was

titled, “OnePhilly System Review Fiscal Year 2019” (hereinafter “Audit”). The

Audit is divided into two separate sections. (1) OnePhilly’s IT General Controls

and Application Controls and (2) Error Identification and Analysis. A true and

correct copy of the Audit is attached to this Complaint as Exhibit “A.”


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      41.     The Audit noted multiple problems with the OnePhilly payroll system,

which included, but was not limited to, the following:

              a.    Controller Rhynhart states in her cover letter to the Audit that

there remain excessive duplication of efforts and the potential of human error:

      The Streets Department … continued to use parallel systems for time
      entry and there seems to be no concerted efforts to integrate these
      departments into OnePhilly. For example, hours for approximately
      1,200 Streets Department employees (sanitation workers) are tracked
      in the filed by clerks using paper timesheets that are entered into the
      Streets system, ISIS. Payroll clerks then print those timesheets from
      ISIS and manually re-enter the data into OnePhilly daily –a time-
      consuming and redundant process with the potential for human error.

              b.    The Executive Summary of the first section of the Audit raises

the specter of the potential inaccuracy of the payroll of individual employees:

      Multiple breakdowns were identified in the functionality and
      application controls of the OnePhilly system. As a result of these
      breakdowns, the payroll expense and other related liability accounts
      could be materially misstated in the City’s Comprehensive Annual
      Financial Report, constituting a material weakness. Additionally,
      individual employee’s pay may be inaccurate or unauthorized.

              c.    The Executive Summary of the first section of the Audit admits

that the OnePhilly payroll system

      had no formal process for reporting, tracking and resolving errors. No
      audit trail to identify all reported payroll errors and corresponding
      resolutions has been kept by OnePhilly…. Importantly, approximately
      one in five payroll payments appears to have required some form of
      retroactive or miscellaneous adjustment to time and/or pay [since
      implementation of OnePhilly].

              d.    The second section of the Audit states that forty-five percent
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(45%) of employees working in the Streets Department—which include the

bargaining unit employees of the Local, had retroactive adjustments to their pay

checks from April 2019 until the end of June 2019. See Audit, p. 27.

               e.    In the end, the Audit makes several recommendations,

including:

      •        Work to proactively identify and resolve all errors in employee pay,
               leave balances, accruals, etc. This effort should include reviewing
               individual cases reported to and/or addressed by the OnePhilly Team
               for similar underlying issues citywide.

      •        Conduct a comprehensive, systemwide analysis to proactively identify
               all potential over- and under-payments to employees, including total
               amounts owed by or due to the City. Document all such analyses
               performed, as well as any analysis contemplated but otherwise unable
               to be performed due to data or system limitations.

See Audit, p. 46.

               f.    Upon information and belief, none of the Audit’s

recommendations were enacted by the City.

C.    Local’s Collective Bargaining Agreement and the City’s Violation of the
      Same

     42.       Defendant City and the Local are, and have been, parties to a

series of collective bargaining agreements negotiated pursuant to Act 195,

which set forth the terms and conditions of employment for City employees

represented by AFSCME District Council 33 and the Local.

      43.      The current collective bargaining agreement between Defendant

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City and District Council 33, including Local 427, covers July 1, 2020 through

June 30, 2021, and calls wage increases of two percent (2%) effective May

2020 for all bargaining unit employees who are not correctional officers. See

Exhibit “B.”

      44.     A true and correct copy of all prior agreements between Defendant

City and District Council 33, including Local 427, including the last integrated

collective bargaining agreement is attached hereto as Exhibit “C” and i s

incorporated in its entirety. Hereinafter, Exhibits “B” and “C” will be

collectively referred to as the “Agreement.”

      45.     The Agreement expressly recognizes the Home Rule Charter and the

Philadelphia Civil Service Regulations.

      46.     Through Act 195, Defendant City is legally bound and obligated to

comply with the terms of the Agreement.

      47.     The Agreement sets forth wage rates for the various job

classifications in each bargaining unit. The agreements also include provisions

for overtime pay, shift differentials, longevity pay, uniform allowances, out-of-

classification pay, life insurance benefits, as well as provisions regarding holiday,

vacation and sick leave.

      48.     Defendant City’s failure to comply with the wage provisions of the

negotiated Agreement undermines the Local’s integrity and diminishes its


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credibility in the eyes of their members and its ability to enforce the Agreement,

thereby interfering with the Local’s relationship with its members.

      49.     Defendant City’s failure to pay the employees in accordance with

the terms of the Agreement constitutes a violation of that Agreement and is

contrary to its own regulations.

      50.     The Local has advised Defendant City that it is obligated to pay all

affected employees the sums presently due and owing and to implement payroll

deductions consistent with the authorizations chosen by bargaining unit employees

of the Local and required by tax authorities.

      51.     The Local has further demanded that when bargaining unit

employees are improperly paid or not paid at all that Defendant City pay these

sums promptly.

      52.     Despite being informed about payroll problems of the Local’s

bargaining unit employees, Defendant City has failed and neglected to correct

those payroll problems promptly or at all or ensure the Local that Defendant City

will comply with its legal and ministerial duty to pay its employees all sums due

and owing and make all necessary and authorized payroll deductions and remit the

same to the appropriate party .

D.    Home Rule Charter and the City’s Violation of the Same

      53.     The Home Rule Charter directs the Executive Branch of Defendant

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City to create a civil service system for all City employees. Section 7-100 reads in

pertinent part:

              The Personnel Director shall prepare, and after their
              adoption, administer the civil service program under the
              civil service regulations. He shall

              (a) Establish and maintain a roster of all employees of the
                  City, whether or not in the civil service, in which
                  there shall be set forth, as to each employee, the class
                  title of the position held, the salary or pay, any change
                  in class title, pay or status, and other pertinent data;

              (b) In accordance with the position classification plan
                  contained in the civil service regulations upon their
                  taking effect, allocate the position of every employee
                  in the civil service to one of the positions in the plan.
                  He shall afford a reasonable opportunity to be heard to
                  any employee affected by the allocation of a position
                  to a class upon the written request of such employee
                  for reconsideration thereof;
              (c) Investigate from time to time the operation and effect
                  of the civil service provisions of this charter and
                  report his findings and recommendations to the Mayor
                  and the Civil Service Commission.

 351 Pa. Code § 7-100.

      54.     The Home Rule Charter requires that “[s]alaries of officers and

employees who are paid out of the City Treasury shall be paid in equal bi-

weekly installments.” 351 Pa. Code § 20-301.

      55.     The Home Rule Charter assigns the duty of transmission of

payroll checks to the City Treasurer when such checks are authorized by the


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Director of Finance. It states in pertinent part:

              Payroll checks are to be delivered to the officer or agency
              on whose requisition they were drawn to assure their
              delivery to the person who allegedly performed the
              services and that the services were in fact performed. The
              delivery of all other checks is made subject to the
              direction of the Director of Finance so that he can from
              time to time prescribe that method of delivery which will
              best protect the interests of the City and the rightful
              payee. Unless the Director of Finance prescribes
              otherwise, the Treasurer may deliver or mail checks to
              payees.

351 Pa. Code § 6-301(2).

      56.     Pursuant to the Home Rule Charter, Defendant City has adopted a

pay plan for all employees which expressly acknowledges that the contents

thereof, including specific salaries, are subject to the "applicable collective

bargaining agreements." 351 Pa. Code § 22-105(4.1).

      57.     The Home Rule Charter assigns the duty to implement payroll

deductions and withholding from employee payroll checks to the Director of

Finance. It states in pertinent part:

              The Director of Finance shall, as authorized or directed
              from time to time by the Code, deduct and withhold from
              the salary or wages of any employee of the City, such
              sum as the employee may authorize, or as may be
              directed by the Code and shall pay over such deductions
              to the designated payee.

351 Pa. Code § 19-203(1) (emphasis added).


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      58.     The Home Rule Charter requires that any authorized deductions be in

writing. It states in pertinent part:

              Authorization for payroll deductions shall be made by
              employees in writing upon forms prescribed and
              furnished by the Director of Finance, and authorized
              deductions shall be made at such time in such manner as
              the Director of Finance may establish.

351 Pa. Code § 19-203(2).

      59.     The Home Rule Charter specifically authorizes payroll deductions to

AFSCME District Council 33, the Board of Pensions and Retirement, and

charitable agencies approved by the Administrative Board, and life insurance for

employees represented by AFSCME District Council 33. See §§ 19-203(4)(a), 19-

203(4)(i), and 19-203(5).

      60.     The Home Rule Charter also provides that bargaining unit members of

the Local may authorize payroll deductions for the purchase of life insurance. See

§§ 19-203(9), 19-203(12).

      61.     The Local has an interest and a duty to police the wage

provisions of each respective Agreement and in upholding those statutorily

and contractually protected rights conferred on their members by the

agreements.

      62.     The Local also has an interest and a duty to ensure that the City

does not violate any law and fulfills its statutory and contractual obligations

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owed to Defendant City’s employees represented by the Local.

                             COUNT 1 – MANDAMUS
                          (UNDER PENNSYLVANIA LAW)

      63.     Plaintiffs hereby incorporate Paragraphs 1 through 62 herein as

though set forth in their entirety.

      64.     Defendant City is subject to a non-discretionary duty under the Home

Rule Charter and the regulations promulgated thereunder to timely pay employees’

earned wages which are due and owing, and to deduct and withhold from payroll

checks amounts authorized by employees and required by tax authorities.

      65.     Defendant City has breached this duty by its persistent failure and

refusal to timely, properly, and accurately pay employees and administer payroll

deductions, despite protests by the Local and its members.

      66.     Defendant City offers no other reason to justify its failure to timely,

accurately, and properly pay its employees and administer payroll deductions or

claim that doing so is impossible or impracticable.

      67.     The Local has a clear legal right to have Defendant City fulfill its

payroll and payroll deduction obligations to the Local and the employees it

represents.

      68.     Where a political subdivision breaches a nondiscretionary duty to

perform a ministerial function, mandamus is appropriate as a matter of law.



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      69.     In order to end the continual payroll problems arising from OnePhilly,

the Local and the bargaining unit employees it represents have no other adequate

remedy at law but to compel Defendant City to discharge its legal duty.

      70.     Based on the averments set forth in this Complaint, the right to

mandamus relief is clear.

      WHEREFORE, based on the foregoing allegations, Plaintiff requests the

Court to order the following relief:

      a.      Issue mandamus relief ordering Defendants consistent with the Home

Rule Charter to immediately pay all sums due and owing to the bargaining unit

employees represented by the Local, plus interest;

      b.      Issue mandamus relief ordering Defendants consistent with the Home

Rule Charter, to immediately deduct all agreed-upon deductions as authorized by

employees represented by the Local or required by taxing authorities and remit

those sums to the appropriate entity and pay any penalties or fees arising from

delay in the remittance.

                                 COUNT II
                  REQUEST FOR DECLARATORY RELIEF
                      UNDER PENNSLVANIA LAW
                      (All Plaintiffs v. All Defendants)

      71.     Plaintiffs hereby incorporate Paragraphs 1 through 70 herein as

though set forth in their entirety.


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      72.     Defendant City is subject to a non-discretionary duty under the Home

Rule Charter and the regulations promulgated thereunder to timely pay employees’

earned wages which are due and owing, and to deduct and withhold from payroll

checks amounts authorized by employees and required by tax authorities.

      73.     The City has breached this duty by its persistent failure and refusal to

pay employees and administer payroll deductions, despite protests by the Local

and its bargaining unit employees.

      74.     The City does not offer any reason to justify its failure to timely,

accurately, and properly pay its employees and administer payroll deductions or

claim that doing so is impossible or impracticable.

      75.     The Local has a clear legal right to have the City fulfill its pay and

payroll deduction obligations to the Local and the employees it represents.

      WHEREFORE, based on the foregoing allegations, Plaintiffs request this

Court to order the following relief:

       a.     Declare Defendants violated the Home Rule Charter when they failed

to timely pay all sums due and owing to employees represented by the Local;

       b.     Declare Defendants violated the Home Rule Charter when they failed

to deduct all agreed-upon deductions as authorized by employees represented by

the Local and required by taxing authorities and remit those sums to the

appropriate entity.

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                               COUNT III
        VIOLATIONS OF THE MINIMUM WAGE PROVISIONS OF
                THE FAIR LABOR STANDARDS ACT
                   (Plaintiff Jackson, individually v.
                            Defendant City)

      76.     Plaintiff Jackson hereby incorporate Paragraphs 1 through 75

herein as though set forth in their entirety.

      77.     Sections 206(a) and 207 of the FLSA, 29 U.S.C. §§ 206(a), 207, and

related regulations, 29 CFR § 531.1-531.40, provide in relevant part that every

covered employer shall pay to each of his nonexempt employees’ wages at a rate

not less than the minimum wage and one and one-half times the regularly hourly

rate for hours worked over forty (40) hours, i.e., overtime.

      78.     Section 216(b) of the FLSA, 29 U.S.C. § 216(b), provides in relevant

part that any employer who violates the provisions of Sections 206(a) and 207 shall

be liable to the employee affected in the amount of their unpaid minimum and/or

overtime wages and an additional equal amount for liquidated damages.

      79.     Each act by the Defendants in failing to pay the statutorily required

minimum wage and/or overtime for the bargaining unit employees represented by

the Local constitutes a violation of the FLSA.

      80.     Plaintiff Jackson consented to be part of this action pursuant to 29

U.S.C. §216(b). A true and correct copy of this Plaintiff’s signed consent form is

attached to this Complaint as Exhibit “D” and incorporated by reference.

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      81.     Plaintiff Jackson, since March 25, 2019, is a full-time employee for

the Streets Department who on occasion was not paid timely, or at all, the

statutorily required minimum wage over a pay period.

      82.     Specifically, beginning on or about April 5, 2019, Plaintiff Jackson,

received no wages or wages less than minimum wage for work performed for the

City’s Street Department in a two-week pay period, in violation of the minimum

wage provisions of the FLSA.

      83.     Defendant knew that Plaintiff Jackson was working as full-time

employees for the Streets Department.

      84.     Because Plaintiff Jackson worked full-time during each pay period,

Defendant City, under the FLSA, was required to compensate him for all hours up

to forty (40) hours of straight time that they worked.

      85.     Defendant knowingly violated the FLSA when it failed to pay

Plaintiff Jackson in a timely manner for the straight-time hours he worked in a pay

period.

      86.     Defendant knowingly violated the FLSA when it failed to pay

Plaintiff Jackson in a timely manner minimum wage for all straight-time hours

worked in a pay period.

      87.     Each instance by the Defendant City to fail to timely pay Plaintiff

Jackson minimum wage for all straight-time hours worked in a pay period was a


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violation of the FLSA even if the City paid the minimum wages at a later time.

      88.     Defendant City knowingly violated the FLSA because it knew that

Plaintiff Jackson was not getting paid timely for minimum wage for all straight-

time hours worked in a pay period.

      89.     Despite knowing that Plaintiff Jackson was not going to receive paid

minimum wage for all straight-time hours worked in a pay period, Defendant City

allowed the FLSA violations to occur.

      WHEREFORE, based on the foregoing allegations, Plaintiff Jackson

requests this Court to order the following relief:

      a.      Grant judgment in their favor and award them compensatory damages,

pre-judgment and post-judgment interest and liquidated damages;

      b.      Award attorneys’ fees;

      c.      Award any other relief the Court deems necessary.

                               COUNT IV
           VIOLATIONS OF THE OVERTIME PROVISIONS OF THE
                    FAIR LABOR STANDARDS ACT
                  (Campbell and Randolph, individually v.
                             Defendant City)

      90.     Plaintiffs hereby incorporate Paragraphs 1 through 89 herein as

though set forth in their entirety.

      91.     Sections 206(a) and 207 of the FLSA, 29 U.S.C. §§ 206(a), 207, and

related regulations, 29 CFR § 531.1-531.40, provide in relevant part that every

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covered employer shall pay to each of his nonexempt employees’ wages at a rate

not less than the minimum wage and one and one-half times the regularly hourly

rate for hours worked over forty (40) hours, i.e., overtime.

      92.     Section 216(b) of the FLSA, 29 U.S.C. § 216(b), provides in relevant

part that any employer who violates the provisions of Sections 206(a) and 207 shall

be liable to the employee affected in the amount of their unpaid overtime wages

and an additional equal amount for liquidated damages.

      93.     Each act by Defendant City in failing to pay the statutorily required

overtime for bargaining unit employees represented by the Local constitutes a

violation of the FLSA.

       94.    Plaintiffs Campbell and Randolph have consented to be a part of this

action pursuant to 29 U.S.C. § 216(b). True and correct copies of these Plaintiffs’

signed consent forms are attached to this Complaint as Exhibit “E” and

incorporated by reference.

      95.     Plaintiffs Campbell and Randolph, since March 25, 2019, were full-

time employees of Defendant City who worked in excess of the applicable number

of maximum hours under the FLSA and regulated regulation to qualify for

overtime.

      96.     Specifically, beginning on or about April 5, 2019, Plaintiffs Campbell

and Randolph received a paycheck that covered a work week in which they worked


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in excess of forty (40) hours but were not timely paid in full for their overtime

hours.

         97.     Defendant City knew that Plaintiffs Campbell and Randolph were

working in excess of forty (40) hours during work weeks.

         98.     Because Plaintiffs Campbell and Randolph worked in excess of forty

(40) hours during a work week, Defendant City, under the FLSA, was required to

compensate then at a rate of one and a half times their hourly rate for time worked

in excess of forty (40) hours.

         99.     Defendant City knowingly violated the FLSA when it failed to pay

Plaintiff Campbell and Randolph in a timely manner for all time worked in excess

of forty (40) hours.

         100. Defendant City knowingly violated the FLSA when it failed to pay

Plaintiffs Campbell and Randolph in a timely manner at a rate of one and a half

times their hourly rate for time worked in excess of forty (40) hours in a work

week.

         101. Each instance by Defendant City to fail to timely pay Plaintiffs

Campbell and Randolph their overtime was a violation of the FLSA even if the

City paid the overtime wage at a later time.

         102.    Defendant knowingly violated the FLSA because it knew that

Plaintiffs Campbell and Randolph were not timely getting paid in full for overtime


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since the OnePhilly system started to run on March 25, 2019.

      103. Despite knowing that Plaintiffs Campbell and Randolph were not

going to get paid overtime wages in full and in a timely manner, Defendant City

allowed the FLSA violations to occur.

      WHEREFORE, based on the foregoing allegations, Campbell and

Randolph request this Court to order the following relief:

      a.     Grant judgment in their favor and award them compensatory damages,

pre-judgment and post-judgment interest and liquidated damages;

      b.     Award attorneys’ fees;

      c.     Award any other relief the Court deems necessary.

                                   COUNT V
                           COLLECTIVE ACTION
    VIOLATIONS OF THE MINIMUM WAGE PROVISIONS OF THE
                      FAIR LABOR STANDARDS ACT
  (Plaintiff Jackson, on behalf of similarly situated individuals v. Defendant
                                      City)

      104. Plaintiff Jackson hereby incorporates Paragraphs 1 through 103

herein as though set forth in their entirety.

      105. Plaintiff Jackson, on behalf of similarly situated individuals, files this

collective action under 29 U.S.C. § 216.

      106. The employees similarly situated in this collection action are:

             All persons since March 25, 2019, who (a) are, have been, or
             will be employed by the City of Philadelphia in the Streets

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             Department, (b) are covered employees under the Fair Labor
             Standards Act, (c) are bargaining unit employees of AFSCME
             Local 427, (d) during any pay period, were not paid minimum
             wage for straight-time hours worked in a pay period, and (e)
             filed a consent to join this action pursuant to 29 U.S.C. §
             216(b).

      107. Members of the proposed collective are known to Defendant City and

are readily identifiable through its records.

      108. Plaintiff Jackson and the proposed collective members are all non-

exempt employees under the FLSA.

      109. Plaintiff Jackson and the proposed collective members are employed

by Defendant City as defined under the FLSA.

      110. Plaintiff Jackson has consented to be a part of this action pursuant to

29 U.S.C. § 216(b). See Exhibit “D.”

      111. Defendant City is an employer who must follow the regulations set

forth in the FLSA.

      112. Defendant City allowed Plaintiff Jackson to work up to forty (40)

hours a week at straight time without promptly paying him at least minimum wage

for those hours.

      113. Defendant City knew that Plaintiff Jackson and the proposed

collective were working up to forty (40) hours a week straight time without

promptly paying them at least minimum wage for those hours.



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      114. Defendant City is aware of the requirements under the FLSA to timely

pay non-exempt employees like Plaintiff Jackson and the proposed collective

minimum wage for all straight hours worked in a pay period.

      115. Defendant City knowingly violated the FLSA by failing to timely pay

Plaintiff Jackson and similarly situated individuals’ minimum wages for all straight

time hours worked in a pay period.

      116. Each instance by Defendant City to fail to timely pay the proposed

collective are all victims of the systemic failure by Defendant City to timely pay

minimum wages for all straight time worked in a pay period was a violation of the

FLSA, even if the City paid those minimum wages at a later time.

      117. Plaintiff Jackson and the proposed collective are all victims of the

systemic failure by the City to minimum wage for all straight time worked in a pay

period after implementing the OnePhilly payroll system.

      118. Defendant City treated all persons in the collective equally and all

persons in the collective endured similar FLSA violations by the Defendant City as

a result of not getting timely paid minimum wage for all straight time worked in a

pay period.

      119. Defendant City is therefore liable to the collective for unpaid

minimum wages, as well as liquidated damages under the FLSA for its failure to

timely pay Plaintiff Jackson and the proposed collective minimum wages.


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          120. Notice of this collective action should be sent to all potential

collective members. There are potentially as many as over a hundred affected

individuals who may be unaware of their legal rights against Defendant City and

can benefit from opting into this action to collect their wages and/or liquidated

damages under the FLSA.

          WHEREFORE, based on the foregoing allegations, Plaintiff Jackson on

behalf of similarly situated individuals request this Court to order the following

relief:

          a.     Designate this action as a collective action on behalf of similarly

situated individuals and to promptly issue notice to all similarly situated

individuals;

          b.     Grant judgment in their favor of Plaintiff Jackson and similarly

situated individuals;

          c.     Award Plaintiff Jackson and similarly situated individuals

compensatory damages, pre-judgment and post-judgment interest, and liquidated

damages;

          d.     Award attorneys’ fees and costs;

          e.     Award reasonable compensation to Plaintiff Jackson;

          f.     Award any other relief, including declaratory and injunctive relief,

that this Court deems necessary.


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                                 COUNT VI
                          COLLECTIVE ACTION
            VIOLATIONS OF THE OVERTIME PROVISIONS OF
                    THE FAIR LABOR STANDARDS ACT
       (Plaintiffs Campbell and Randolph, on behalf of similarly situated
                        individuals v. Defendant City)

      121. Plaintiffs Campbell and Randolph hereby incorporate Paragraphs 1

through 120 herein as though set forth in their entirety.

      122. Plaintiffs Campbell and Randolph, on behalf of similarly situated

individuals, files this collective action under 29 U.S.C. § 216.

      123. The employees similarly situated in this collection action are:

             All persons since March 25, 2019, who (a) are, have been, or
             will be employed by the City of Philadelphia in the Streets
             Department, (b) are covered employees under the Fair Labor
             Standards Act, (c) are bargaining unit employees of AFSCME
             Local 427, (d) during any pay period, were not paid all overtime
             for hours worked in excess of forty (40) hours in any work
             week, and (e) filed a consent to join this action pursuant to 29
             U.S.C. § 216(b).

      124. Members of the proposed collective are known to Defendant City and

are readily identifiable through its records.

      125. Plaintiffs Campbell and Randolph and the proposed collective

members are all non-exempt employees under the FLSA.

      126. Plaintiffs Campbell and Randolph and the proposed collective

members are employed by Defendant City as defined under the FLSA.



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      127. Plaintiffs Campbell and Randolph have consented to be a part of this

action pursuant to 29 U.S.C. § 216(b). See Exhibit “E.”

      128. Defendant City is an employer who must follow the regulations set

forth in the FLSA.

      129. Defendant City allowed Plaintiffs Campbell and Randolph and the

proposed collective to work in excess of forty (40) hours in any work week without

timely paying them overtime.

      130. Defendant City knew that Plaintiffs Campbell and Randolph and the

proposed collective were working in excess of forty (40) hours during a work, and

Defendant City knowingly failed to timely pay, in full, Plaintiffs Campbell and

Randolph and the proposed collective overtime wages for time worked in excess of

forty (40) hours in a work week.

      131. Defendant City is aware of the requirements under the FLSA to timely

pay non-exempt employees like Plaintiffs Campbell and Randolph and the

proposed collective overtime wages as defined by the FLSA.

      132. Defendant City knowingly violated the FLSA by failing to timely pay

Plaintiffs Campbell and Randolph and similarly situated individuals overtime

wages.




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         133. Each instance by the City to fail to timely pay the collective overtime

wages was a violation of the FLSA, even if the City paid overtime wages at a later

stage.

         134. Plaintiffs Campbell and Randolph and the proposed collective are all

victims of the systemic failure by the City to timely pay overtime wages in full

after implementing the OnePhilly payroll system.

         135. Defendant City treated all persons in the collective equally and all

persons in the collective endured similar FLSA violations by the Defendant City as

a result of not getting timely paid their owed overtime wages in a timely manner.

         136. Defendant City is therefore liable to the collective for unpaid overtime

wages, as well as liquidated damages under the FLSA, for its failure to timely pay

Plaintiffs Campbell and Randolph and the proposed collective overtime wages in

full.

         137. Notice of this collective action should be sent to all potential

collective members. There are potentially over a hundred affected individuals who

may be unaware of their legal rights against Defendant City and can benefit from

opting into this action to collect their wages and/or liquidated damages under the

FLSA.




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      WHEREFORE, based on the foregoing allegations, Campbell and

Randolph on behalf of similarly situated individuals request this Court to order the

following relief:

      a.       Designate this action as a collective action on behalf of similarly

situated individuals and to promptly issue notice to all similarly situated

individuals;

      b.       Grant judgment in their favor of Campbell and Randolph and

similarly situated individuals;

      c.       Award Plaintiffs Campbell and Randolph and similarly situated

individuals’ compensatory damages, pre-judgment and post-judgment interest, and

liquidated damages;

      d.       Award attorneys’ fees and costs;




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      e.     Award reasonable compensation to Campbell and Randolph;

      f.     Award any other relief, including declaratory and injunctive relief,

that this Court deems necessary.

                                Respectfully submitted,

                                /s/ John R. Bielski
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